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     United States Attorney
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8    Attorneys for Plaintiff
9                                   UNITED STATES DISTRICT COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
11                                      SAN FRANCISCO DIVISION
12   UNITED STATES OF AMERICA,                      )      No. CR 05 00284 SI
                                                    )
13             Plaintiff,                           )      MOTION AND [PROPOSED] ORDER TO
                                                    )      DISMISS COUNTS ONE, THREE, FOUR
14        v.                                        )      AND FIVE AS WELL AS FORFEITURE
                                                    )      ALLEGATION AGAINST DEFENDANT
15   AKRAM SABAR CHAUDHRY,                          )      CHAUDHRY
       a.k.a. Akram Sabar, and                      )
16   MOHAMMAD ADIL                                  )
       a.k.a. Adil Mohammad,                        )
17
               Defendants.
18
19             1. Pursuant to a plea agreement filed July 14, 2006, defendant Chaudhry pled guilty to
20   Count Two of the indictment in the above-captioned matter and the government agreed to move
21   to dismiss any open charges pending against the defendant upon his sentencing.
22        2. Defendant Chaudhry was sentenced on September 29, 2006 and, in accordance with the
23   plea agreement and in the interests of justice, the government moves to dismiss Counts One,
24   Three, Four and Five as well as the Forfeiture Allegation against defendant Chaudhry.
25   \\
26   \\
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28   \\
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1    DATED: October 5, 2006                    Respectfully Submitted
2                                              KEVIN V. RYAN
                                               United States Attorney
3
4                                                         /S/
                                               BLAKE D. STAMM
5                                              Assistant United States Attorney
6
7    IT IS SO ORDERED.
8
9    DATED: ______________                     __________________________
                                               HON. SUSAN ILLSTON
10                                             United States District Judge
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